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                                               1   Mark G. Tratos (Bar No. 1086)
                                                   Donald L. Prunty (Bar No. 8230)
                                               2   F. Christopher Austin (Bar No. 6559)
                                                   Ronald D. Green, Jr. (Bar No. 7360)
                                               3
                                                   GREENBERG TRAURIG, LLP
                                               4   3773 Howard Hughes Parkway
                                                   Suite 400 North
                                               5   Las Vegas, Nevada 89169
                                                   Telephone: (702) 792-3773
                                               6   Facsimile: (702) 792-9002
                                               7
                                                   Counsel for Defendant/Counterplaintiff
                                               8
                                                                                  UNITED STATES DISTRICT COURT
                                               9
                                                                                         DISTRICT OF NEVADA
                                              10
                                                   GREGORY RICKS,                                     Case No. 2:08-cv-01174-PMP-GWF
                                              11
                                                                    Plaintiff
3773 Howard Hughes Parkway, Suite 400 North




                                              12   v.                                                 STIPULATED REQUEST FOR AN
      GREENBERG TRAURIG, LLP




                                                                                                      EXTENSION OF TIME TO FILE
        Las Vegas, Nevada 89169




                                              13   BMEzine.COM, LLC,
           (702) 792-9002 (fax)




                                                                                                      PROPOSED JOINT PRETRIAL
              (702) 792-3773




                                              14                                                      ORDER
                                                                    Defendant
                                              15                                                      (SIXTH REQUEST)

                                              16
                                                   BMEzine.COM, LLC,
                                              17

                                              18                    Counterclaim Plaintiff

                                              19   v.

                                              20   GREGORY RICKS AND GEE WHIZ
                                                   DOMAINS, INC.
                                              21

                                              22                    Counterclaim Defendants.

                                              23
                                                           The parties request a three week extension of time to file a proposed joint pretrial
                                              24
                                                   order which is currently due on October 8, 2010. Good cause exists to extend the time to
                                              25
                                                   file the proposed joint pretrial order. Although the Greenberg Traurig, LLP (“Greenberg”)
                                              26
                                                   firm has been acting as local counsel in this matter from the outset, Greenberg only
                                              27
                                                   recently was retained to take the role of lead trial counsel and needs additional time to
                                              28


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                                                   Case 2:08-cv-01174-PMP-GWF          Document 132       Filed 10/08/10     Page 2 of 2




                                               1   become familiar with the documentation evidence and current status of this matter.

                                               2   Greenberg has only received the entire file related to this matter from prior trial counsel for

                                               3   Defendant/Counterclaim Plaintiff during the week of October 4, 2010. Additional time is

                                               4   necessary in order for the parties to provide an effective pretrial order to the Court.

                                               5           If this stipulation is approved, the new deadline to file the proposed joint pretrial

                                               6   order will be October 29, 2010.

                                               7   Dated: October 7, 2010                            Dated: October 7, 2010

                                               8   GREENBERG TRAURIG, LLP                            WEIDE & MILLER, LTD.

                                               9
                                                   /s/ Ronald D. Green, Jr.                          /s/ Mark Borghese
                                              10   Mark G. Tratos (Bar No. 1086)                     Mark Borghese
                                                   Donald L. Prunty (Bar No. 8230)                   Ryan Gile
                                              11   F. Christopher Austin (Bar No. 6559)              Weide & Miller, Ltd.
                                                   Ronald D. Green, Jr. (Bar No. 7360)               7251 W. Lake Mead Blvd., Suite 530
3773 Howard Hughes Parkway, Suite 400 North




                                              12
                                                   3773 Howard Hughes Parkway                        Las Vegas, NV 89128
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        Las Vegas, Nevada 89169




                                              13
           (702) 792-9002 (fax)




                                                   Las Vegas, Nevada 89169                           Counsel for Plaintiff
              (702) 792-3773




                                              14
                                                   Counsel for Defendant
                                              15

                                              16

                                              17                                              IT IS SO ORDERED:

                                              18

                                              19                                              _________________________ ______ _
                                                                                              UNITED STATES DISTRICT COURT JUDGE
                                              20

                                              21                                              DATED:_________________________
                                                                                                     Ovtober 8, 2010

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